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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

RICHARD LEE BROWN, ET AL.,              :
                                        :       CIVIL ACTION NO.:
                                        :       1:20-cv-3702-WMR
                                        :
                    Plaintiffs,         :
                                        :
             v.                         :
                                        :
SEC. ALEX AZAR, ET AL.,                 :
                                        :
                    Defendants.         :

 PLAINTIFFS’ BRIEF IN SUPPORT OF MOTION FOR PRELIMINARY
                         INJUNCTION

      Pursuant to Rule 65 of the Federal Rules of Civil Procedure, Plaintiffs Richard

Lee (Rick) Brown, Jeffrey Rondeau, David Krausz, Sonya Jones and the National

Apartment Association (NAA) move for a preliminary injunction against

Defendants, Secretary Alex Azar, U.S. Department of Health and Human Services,

Acting Chief of Staff Nina B. Witkofsky, and U.S. Centers for Disease Control and

Prevention (collectively “CDC”) vacating their September 1, 2020 Order, which

suspended lawful residential evictions as applied to Plaintiffs.

      Plaintiffs have faithfully upheld their end of the landlord/tenant contract.

Plaintiffs had a right to expect that if their tenants did not pay rent the law and the




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courts would be open to them. The livelihoods of NAA members across the country

depend on this understanding.

      Plaintiffs upheld their end of the bargain. They provided habitable homes to

their tenants and continue to pay for maintenance, utilities and other expenses. Upon

breach of lease Plaintiffs should have been able to follow the lawful process laid

down by state law for retaking possession of their homes.

      Plaintiffs failed to anticipate, however, that CDC, a federal agency without

any authority over housing, would issue a sweeping order suspending state law

under the flimsy premise that doing so was “necessary” to control the COVID-19

pandemic. CDC’s actions are not authorized by statute or regulation. They are

unprecedented in our history and unconstitutionally deny property owners across the

country to access the courts. CDC’s effort to seize control of state law on such an

insupportable basis is causing irreparable harm and must be rejected. This Court

should therefore issue a preliminary injunction.

I. FACTS

      Mr. Brown owns a residential property in Winchester, VA. (Brown Decl. at ¶

3.) He has a mortgage on the property and makes monthly payments of

approximately $400 for the mortgage principal, interest and taxes. (Brown Decl. at

¶ 4.) On April 1, 2017, Mr. Brown leased the property to a tenant, who agreed to pay

monthly rent of $925, and the lease is currently in effect. (Brown Decl. at ¶ 5.)

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      Mr. Brown’s tenant has fallen behind on rent and asserted to Mr. Brown that

she is unable to pay because of economic stress arising from the COVID-19

pandemic, has used best efforts to obtain available government assistance and

otherwise pay rent, has no other home to go to, and is making less than $99,000

annually. (Brown Decl. at ¶ 6.) To date, the tenant owes $8,092 in unpaid rent and

has made no payments at all to Mr. Brown for several months. (Brown Decl. at ¶ 6.)

      Mr. Rondeau owns a residential property in Vale, NC, where he intends to

live once he retires. (Rondeau Decl. at ¶ 3.) Starting on May 1, 2019, he rented the

property for a monthly rent of $1,000, and the lease was renewed in May 2020 and

is currently in effect. (Rondeau Decl. at ¶ 5.)

      Mr. Rondeau’s tenant had a spotty payment history and has not paid any rent

since July 6, 2020. (Rondeau Decl. at ¶ 7.) The tenant now owes more than $2,100

in rent and fees. (Rondeau Decl. at ¶ 7.) On August 17, 2020, Mr. Rondeau filed for

a summary ejectment in North Carolina state court. (Rondeau Decl. at ¶ 8.) A state

judge granted ejectment on August 24, 2020 and ordered a sheriff to serve a writ of

possession removing the tenants from the property. (Rondeau Decl. at ¶ 8.) The

eviction was set to take place on September 21, 2020. (Rondeau Decl. at ¶ 9.)

      Mr. Krausz owns a residential property in Columbia SC, which he leased to a

tenant for a monthly rent of $700. (Krausz Decl. at ¶ 3.) He has a currently effective

lease agreement with the tenant. (Krausz Decl. at ¶ 3.) Mr. Krausz’s tenant fell

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behind on rent in July 2020, and now owes approximately $2265 in unpaid rent.

(Krausz Decl. at ¶ 4.)

      On July 7, 2020, Mr. Krausz filed an application for ejectment to initiate the

legal eviction process under South Carolina law. (Krausz Decl. at ¶ 5.) Mr. Krausz’s

tenant requested a hearing, which was held on July 30, 2020. (Krausz Decl. at ¶ 6.)

At the hearing Mr. Krausz and his tenant entered into a consent agreement where the

tenant would have 4 days to pay $700 towards past due rent, and then was required

to pay an additional $2265 in unpaid rent by August 31, 2020. (Krausz Decl. at ¶ 7.)

The tenant agreed to waive their right to an additional hearing. (Krausz Decl. at ¶ 7.)

If the tenant breached the agreement, which was accepted by the court, then Mr.

Krausz was entitled to request the court issue a writ of ejectment immediately

without any further hearings on the matter. (Krausz Decl. at ¶ 7.) Mr. Krausz’s tenant

paid $700 for July’s rent as agreed but failed to pay any portion of the outstanding

$2265. (Krausz Decl. at ¶ 8.)

      On September 11, 2020 Mr. Krausz requested service of a writ of ejectment

from the magistrate court, which is a process by which a sheriff evicts a tenant under

South Carolina law. (Krausz Decl. at ¶ 9.) The writ was granted, and the Richland

County South Carolina Sheriff’s Department scheduled an eviction of Mr. Krausz’s

tenant for September 21, 2020. (Krausz Decl. at ¶ 10.)



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      Ms. Jones owns a residential property in Jesup, GA, which she leased to a

tenant for a monthly rent of $450. (Jones Decl. at ¶ 3.) Ms. Jones has a currently

effective lease agreement with her tenant. (Jones Decl. at ¶ 3.) Ms. Jones’ tenant has

fallen behind on rent and now owes more than $1800 in unpaid rent, plus late fees.

(Jones Decl. at ¶ 4.) Under Georgia law Ms. Jones is entitled to seek an eviction for

nonpayment of rent. (Jones Decl. at ¶ 4.)

      On March 27, 2020, Congress passed the Coronavirus Aid, Relief, and

Economic Security (CARES) Act, P.L. 116-316, which included in Section 4024 a

limited and temporary moratorium on evictions for certain types of federally-backed

housing that expired on July 24, 2020.

      On September 1, 2020, Defendant Acting Chief Witkofsky issued an order

titled, “Temporary Halt in Residential Evictions to Prevent Further Spread of

COVID-19.” The CDC Order became effective upon publication in the Federal

Register, which occurred on September 4, 2020. 85 Fed. Reg. 55292 (Sept. 4, 2020).

      The Order said, “Under this Order, a landlord, owner of a residential property,

or other person with a legal right to pursue eviction or possessory action, shall not

evict any covered person from any residential property in any jurisdiction to which

this Order applies during the effective period of the Order.” Id.

      The Order said, “‘Evict’ and ‘Eviction’ means any action by a landlord, owner

of a residential property, or other person with a legal right to pursue eviction or a

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possessory action, to remove or cause the removal of a covered person from a

residential property. This does not include foreclosure on a home mortgage.” Id. at

55293. The Order also said, “[A] person violating this Order may be subject to a fine

of no more than $100,000 if the violation does not result in a death or one year in

jail, or both, or a fine of no more than $250,000 if the violation results in a death or

one year in jail, or both[.]” Id. at 55296.

      It also applied to “covered persons” who are tenants “of a residential property”

who attest that they (1) have “used best efforts to obtain all available government

assistance for rent or housing;” (2) “either (i) expects to earn no more than $99,000

in annual income for Calendar Year 2020 … (ii) w[ere] not required to report any

income in 2019 to the U.S. Internal Revenue Service, or (iii) received an Economic

Impact Payment [under] … the CARES Act;” (3) are “unable to pay the full rent or

make a full housing payment due to substantial loss of household income, loss of

compensable hours of work or wages, a lay-off, or extraordinary out-of-pocket

medical expenses;” (4) they are “using best efforts to make timely partial payments

that are as close to the full payment as the individual’s circumstances may permit,

taking into account other nondiscretionary expenses;” and (5) “eviction would likely

render the individual homeless—or force the individual to move into and live in

close quarters in a new congregate or shared living setting—because the individual

has no other available housing options.” Id. at 55293.

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      The Order claimed to have been issued pursuant to Section 361 of the Public

Health Service Act, 42 U.S.C. § 264, and 42 C.F.R. § 70.2. Id. at 55297. It claimed

criminal enforcement authority under 18 U.S.C. §§ 3559, 3571, 42 U.S.C. §§ 243,

268, 271, and 42 C.F.R. § 70.18. Id. at 55296.

      CDC also set out a series of justifications and “findings.” Id. at 55294-96.

Because “[e]victed renters must move,” the Order concluded eviction “leads to

multiple outcomes that increase the risk of COVID-19 spread.” Id. at 55294. It then

concluded that “mass evictions” and “homelessness” “would likely increase the

interstate spread of COVID-19.” Id. at 55295. Thus, Acting Chief Witkofsky

“determined the temporary halt in evictions in this Order constitutes a reasonably

necessary measure under 42 CFR 70.2 to prevent the further spread of COVID-19

throughout the United States. [She] further determined that measures by states,

localities, or U.S. territories that do not meet or exceed these minimum protections

are insufficient to prevent the interstate spread of COVID-19.” Id. at 55296.

      The Order was effective upon publication until December 31, 2020, “unless

extended.” Id. at 55297.

      Mr. Brown has maintained the property in compliance with all legal

obligations as a landlord, and the tenant has no other defense to her nonpayment of

rent. (Brown Decl. at ¶ 7.) Mr. Brown is entitled to writs of possession and eviction.

(Brown Decl. at ¶ 7.) He now intends to seek eviction of his tenant for nonpayment

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of rent using legal process in Virginia state courts. (Brown Decl. at ¶ 9.) Based on

information provided by his tenant, Mr. Brown believes that his tenant is a “covered

person” under the CDC Order, and will provide a relevant affidavit if Mr. Brown

initiates eviction procedures against her. (Brown Decl. at ¶ 10.) Mr. Brown intends

to violate the CDC Order through lawful processes under Virginia law by seeking

an eviction order and having a sheriff forcibly remove his tenant from the property.

(Brown Decl. at ¶ 11.) Mr. Brown intends to violate the CDC Order even if his tenant

presents an attestation in eviction proceedings that she is a “covered person” as

defined the CDC Order. (Brown Decl. at ¶ 12.)

      Because of the CDC Order, Mr. Brown is suffering significant economic

damages, including $8,092 in unpaid rent, as well as monthly maintenance costs,

damages to his property and the lost opportunity to rent or use the property at fair

market value of at least $925 per month. (Brown Decl. at ¶ 14.) The tenant is also

insolvent (and judgment proof), and Mr. Brown will not be able to obtain any

economic relief or damages from the tenant once the CDC Order expires at the end

of December. (Brown Decl. at ¶ 14.) Mr. Brown’s only opportunity to mitigate his

loss will be from ousting the tenant who is in wrongful possession of the premises

and renting the property to another tenant. (Brown Decl. at ¶ 14.)

      Mr. Rondeau has complied with all legal obligations as a landlord, and his

tenants had no other defense to eviction under North Carolina law. (Rondeau Decl.

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at ¶ 11.) On September 6, 2020, however, Mr. Rondeau’s tenants provided him with

an affidavit pursuant to the CDC Order. (Rondeau Decl. at ¶ 10.) The tenant declared

under penalty of perjury that all conditions required for the CDC Order applied to

them. (Rondeau Decl. at ¶ 10.) Mr. Rondeau intends to use legal means under North

Carolina law to remove the tenants from the property notwithstanding the CDC

Order purporting to halt state eviction proceedings. (Rondeau Decl. at ¶ 12.)

      Because of the CDC Order, Mr. Rondeau has also suffered significant

economic damages, including $2100 in unpaid rent and fees, as well as monthly

maintenance costs, damages to his property and the lost opportunity to rent or use

the property at fair market value of at least $1000 per month. (Rondeau Decl. at ¶

13.) His tenant has also declared that she is insolvent, meaning that his only hope to

mitigate his losses will be from ousting the tenant and renting the property to another

tenant. (Rondeau Decl. at ¶ 13.) Mr. Rondeau also faces the very real possibility that,

if he is unable to evict his tenant and earn rent prior to the Order’s expiration in

January 2021, he will be unable to meet his mortgage obligations and will lose his

house in foreclosure. (Rondeau Decl. at ¶ 14.)

      On September 16, 2020, Mr. Krausz’s tenant provided the South Carolina

court with a declaration consistent with the CDC Order. (Krausz Decl. at ¶ 11.) The

South Carolina court then immediately stayed the eviction. (Krausz Decl. at ¶ 12.)



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      Mr. Krausz has maintained his property in compliance with all legal

obligations as a landlord, and his tenant has no defense for her nonpayment of rent.

(Krausz Decl. at ¶ 13.) Mr. Krausz is also entitled to regain possession of his property

under South Carolina law. (Krausz Decl. at ¶ 13.) Because of the CDC Order, Mr.

Krausz has incurred significant economic damages, including approximately $2,265

in unpaid rent and fees, as well as monthly maintenance costs, damages to his

property and the lost opportunity to rent or use the property at fair market value of

at least $700 per month. (Krausz Decl. at ¶ 14.) The tenant is also likely insolvent,

and Mr. Krausz will not likely be able to obtain any economic relief or damages

from her. Mr. Krausz’s only opportunity to mitigate his loss will be from ousting the

tenant who is in wrongful possession of the premises and renting the property to

another tenant. (Krausz Decl. at ¶ 14.)

      On August 24, 2020, Ms. Jones filed and served a dispossessory affidavit on

her tenant consistent with Georgia law, directing her tenant to vacate the property.

(Jones Decl. ¶ 5.) Ms. Jones’ tenant requested a hearing, which was held on

September 8, 2020, the first business day following the effective date of the CDC

Order. (Jones Decl. ¶ 6.) At the hearing Ms. Jones’ tenant said that his challenge to

the eviction was related to the COVID-19 pandemic, and the court continued all

proceedings until January 2021 in purported compliance with the CDC Order. (Jones

Decl. ¶ 7.) Based on information provided to Ms. Jones by her tenant, and the

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tenant’s representations in court, Ms. Jones’ tenant is a “covered person” as defined

by the CDC Order. (Jones Decl. ¶ 8.)

      Ms. Jones has maintained her property in compliance with all legal obligations

as a landlord, and the tenant has no defense for their nonpayment of rent. (Jones

Decl. ¶ 9.) She is entitled to regain possession of the property under Georgia law.

(Jones Decl. ¶ 9.) Because of the CDC Order, Ms. Jones has incurred significant

economic damages, including about $1,800 in unpaid rent and fees, plus monthly

maintenance costs, damages to the property and the lost opportunity to rent or use

the property at fair market value of at least $450 per month. (Jones Decl. ¶ 10.) The

tenant is also insolvent, and Ms. Jones will not be able to obtain any economic relief

or damages from him. (Jones Decl. ¶ 10.) Ms. Jones’ only opportunity to mitigate

the loss will be from ousting the tenant who is in wrongful possession of the premises

and renting the property to another tenant. (Jones Decl. ¶ 10.)

      NAA is a trade association for owners and managers of rental housing that is

comprised of over 85,185 members managing more than 10 million rental units

throughout the United States. (Pinnegar Decl. at ¶ 1.) NAA has members in all 50

states. NAA also has a significant number of members managing “Class C”

properties, which typically have lower rents and serve lower-income tenants than

Class A or B properties.



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      There are currently an estimated 43,811,786 renter-occupied housing units in

the United States. Approximately 86% of those units are occupied by tenants with

annual household incomes below $100,000. Recent studies have estimated that

because of the economic downturn associated with COVID-19, there will be a

nationwide shortfall of rental payments over the next four months of

$21,545,000,000. Stout Risius Ross, LLC, Estimation of Households Experiencing

Rental        Shortfall        and         Potentially        Facing           Eviction,

https://app.powerbi.com/view?r=eyJrIjoiNzRhYjg2NzAtMGE1MC00NmNjLTllO

TMtYjM2NjFmOTA4ZjMyIiwidCI6Ijc5MGJmNjk2LTE3NDYtNGE4OS1hZjI0L

Tc4ZGE5Y2RhZGE2MSIsImMiOjN9, (last visited September 17, 2020).

      NAA’s members have seen a growing problem in the past few months with

tenants unable to pay to rent. (Pinnegar Decl. at ¶¶ 3-4.) In a recent national survey,

more than half of small landlords reported that they had at least one tenant not pay

rent in June. Terner Center for Housing Innovation, U.C. Berkley, How Are Smaller

Landlords      Weathering      the    COVID-19           Pandemic?     (July     2020),

https://nahrep.org/downloads/NAHREP-Terner-Center-Landlord-Survey-

Factsheet.pdf. More than half of landlords reported that rent collections are down

from the first quarter, with 30% of respondents saying they are down more than 25%.

Id. One-quarter of all respondents had to borrow funds to cover shortfalls in

operating costs. Id. Moreover, nearly 40% of respondents lacked confidence “in

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being able to cover their operating costs over the next quarter,” even without

restrictions on evictions. Id.

      Nationwide “[o]ne-in-three renters started September with outstanding back

rent owed.” Igor Popov, Rob Warnock, and Chris Salviati, Despite Slight

Improvement, Rent Payment Struggles Continue, Apartment List (Sept. 9, 2020),

https://www.apartmentlist.com/research/september-housing-payments. Moreover,

only about a third of all renters “made an on-time rent payment in the first week of

September.” Id. In the end, approximately 10% of tenants are not expected to pay

rent at all during September. Id.

      Class C properties, moreover, have experienced even greater financial strain.

With the expiration of many COVID-related government assistance, Class C

properties “have seen a 15 percent point drop” in “full rent payments” from June to

July of this year. LeaseLock, Class C Residents Show Signs of Growing Financial

Strain (July 2020). The total “percentage of rent collected at Class C properties has

dipped 17 percentage points and remains more than 40 percentage points below the

pre-COVID average.” Id. Nationwide, only 24% of Class C tenants paid their rent

within the first 15 days of July. Id.

      NAA’s members have tenants in jurisdictions across the country in default of

their leases for nonpayment of rent. (Pinnegar Decl. at ¶¶ 4-5.) Overwhelmingly,

these members are unable to access lawful eviction proceedings because of the CDC

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Order. (Pinnegar Decl. at ¶¶ 2-3.) Because of the CDC Order, NAA’s members have

suffered significant economic damages, including unpaid rent and fees, as well as

monthly maintenance costs, damages to their property and the lost opportunity to

rent or use their properties at fair market value. (Pinnegar Decl. at ¶¶ 4-5.) NAA’s

members will be unlikely to obtain any economic relief or damages from their

tenants once the CDC Order expires at the end of December because, by definition,

any tenant presenting an appropriate attestation will be insolvent. (Pinnegar Decl. at

¶¶ 4-5.) NAA members’ only opportunity to mitigate their losses will be from

ousting their tenants who are in wrongful possession of the premises. (Pinnegar Decl.

at ¶¶ 4-5.)

II. ARGUMENT

      A. Jurisdiction

      A plaintiff has standing to raise a pre-enforcement challenge to a criminal

restriction when they can tie economic harm to government action and there is a

realistic threat of enforcement. See Virginia v. Am. Booksellers Ass’n, Inc., 484 U.S.

383, 393 (1988) (“We are not troubled by the pre-enforcement nature of this suit.

The State has not suggested that the newly enacted law will not be enforced, and we

see no reason to assume otherwise. We conclude that the plaintiffs have alleged an

actual and well-founded fear that the law will be enforced against them.”); Adinolfe

v. United Techs. Corp., 768 F.3d 1161, 1172 (11th Cir. 2014) (“Economic harm ...

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[is] a well-established injur[y]-in-fact under federal standing jurisprudence.”); Ga.

Latino All. for Human Rights v. Governor of Ga., 691 F.3d 1250, 1257-58 (11th Cir.

2012) (“When, as here, plaintiffs file a pre-enforcement, constitutional challenge to

a state statute, the injury requirement may be satisfied by establishing a realistic

danger of sustaining direct injury as a result of the statute’s operation or

enforcement.”).

      The Administrative Procedure Act (APA) entitles “[a] person suffering legal

wrong because of agency action, or adversely affected or aggrieved by agency action

... to judicial review thereof.” 5 U.S.C. § 702. The APA requires courts to set aside

agency action that is rule that is “arbitrary, capricious, an abuse of discretion, or

otherwise not in accordance with law,” “contrary to constitutional right” or “in

excess of statutory jurisdiction [or] authority.” 5 U.S.C. §§ 706(2)(A), (B), (C).1


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  Alternatively, the Supreme Court has “long held that federal courts may in some
circumstances grant injunctive relief against” federal officials violating federal law.
Armstrong v. Exceptional Child Ctr., Inc., --- U.S. ----, 135 S. Ct. 1378, 1384 (2015);
see also Corr. Servs. Corp. v. Malesko, 534 U.S. 61, 74 (2001) (“[I]njunctive relief
has long been recognized as the proper means for preventing entities from acting
unconstitutionally.”). “The ability to sue to enjoin unconstitutional actions by state
and federal officers is the creation of courts of equity, and reflects a long history of
judicial review of illegal executive action, tracing back to England.” Armstrong, 135
S. Ct. at 1384. Moreover, while “the APA is the general mechanism by which to
challenge final agency action” “this does not mean the APA forecloses other causes
of action.” Sierra Club v. Trump, 929 F.3d 670, 699 (9th Cir. 2019). Thus, a court
has the equitable power to entertain a constitutional claim even if it is not reviewable
under the APA—“claims challenging agency actions—particularly constitutional
claims—may exist wholly apart from the APA.” Id. To the extent that any of
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      Rule 65(a) of the Federal Rules of Civil Procedure allows a court to issue a

preliminary injunction if there is: (1) a substantial likelihood of success on the

merits; (2) that the preliminary injunction is necessary to prevent irreparable injury;

(3) that the threatened injury outweighs the harm the preliminary injunction would

cause the other litigant; and (4) that the preliminary injunction would not be averse

to the public interest. See Nken v. Holder, 556 U.S. 418, 434 (2009); Siebert v. Allen,

506 F.3d 1047, 1049 (11th Cir. 2007).

      B. Plaintiffs Have a Likelihood of Success on the Merits

             1. The CDC Order Is Without a Statutory or Regulatory Basis

      “Even before the birth of this country, separation of powers was known to be

a defense against tyranny,” and “it remains a basic principle of our constitutional

scheme that one branch of the Government may not intrude upon the central

prerogatives of another.” Loving v. United States, 517 U.S. 748, 756-57 (1996).

Thus, “an agency literally has no power to act … unless and until Congress confers

power upon it.” La. Pub. Serv. Comm’n v. FCC, 476 U.S. 355, 374 (1986). “[A]n

administrative agency’s power to regulate … must always be grounded in a valid

grant of authority from Congress.” FDA v. Brown & Williamson Tobacco Corp., 529

U.S. 120, 161 (2000).



Plaintiffs’ constitutional claims are not cognizable under the APA, they bring them
here as a matter of equity under this Court’s inherent jurisdiction.
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      CDC’s Order is purportedly authorized by 42 U.S.C. § 264 and 42 C.F.R.

§ 70.2, but neither provision grants the agency the broad authority to unilaterally

void state laws across the country. Section 264(a) says that the Surgeon General may

“make and enforce such regulations as in his judgment are necessary to prevent the

introduction, transmission, or spread of communicable diseases from … one State

or possession into any other State or possession.” And in particular, the statute

allows for “such inspection, fumigation, disinfection, sanitation, pest extermination,

destruction of animals or articles found to be so infected or contaminated as to be

sources of dangerous infection to human beings, and other measures, as in his

judgment may be necessary.” Id.

      The regulation, in turn, allows the CDC Director to “take such measures to

prevent such spread of the diseases as he/she deems reasonably necessary, including

inspection, fumigation, disinfection, sanitation, pest extermination, and destruction

of animals or articles believed to be sources of infection” when she “determines that

the measures taken by health authorities of any State or possession (including

political subdivisions thereof) are insufficient to prevent the spread of any of the

communicable diseases from such State or possession to any other State or

possession[.]” 42 C.F.R. § 70.2.

      Neither § 264(a) nor § 70.2 authorize CDC to issue a nationwide eviction

moratorium. At most, those provisions allow limited orders related to certain disease

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control measures, but it does not justify a wholly unrelated ban on legal eviction

proceedings. Traditional canons of construction such as ejusdem generis, expressio

unius, noscitur a sociis, and casus omissus show that CDC lacks the authority it

needs to hold out the Order as the supreme law of the land. See Antonin Scalia &

Bryan Garner, Reading Law: The Interpretation of Legal Texts, 199-213, 107-111,

195-198, 93-100, 174-179 (Thompson/West 2012). These canons show that the link

between the relevant federal statutes and CDC Order is too weak and attenuated to

allow CDC to lawfully deprive Plaintiffs of state-court eviction processes.

      Both the statute and regulation speak in terms of “inspection, fumigation,

disinfection, sanitation, pest extermination, [or] destruction of animals or articles,”

42 U.S.C. § 264(a); 42 C.F.R. § 70.2, all of which are far afield from eviction

procedures under state law. Under the ejusdem generis canon, both provisions must

be limited to actions taken in keeping with these examples. Ejusdem generis looks

to the genus to which the initial terms belong—controlling communicable diseases

through inspection and destruction of animals and articles—and presumes that the

drafter has that genus or category in mind for the entire passage; the tagalong general

term cannot render the prior enumeration superfluous. See, e.g., Circuit City Stores,

Inc. v. Adams, 532 U.S. 105, 109, 115 (2001) (“contracts of employment of seamen,

railroad employees, or any other class of workers engaged in foreign or interstate

commerce” held to include only transportation workers in foreign or interstate

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commerce); McBoyle v. United States, 283 U.S. 25, 26, 27 (1931) (“automobile,

automobile truck, automobile wagon, motor cycle, or any other self-propelled

vehicle not designed for running on rails” held not to apply to an airplane). Voiding

state eviction laws, of course, bears no relationship to “inspection, fumigation,

disinfection, sanitation, pest extermination, [or] destruction of animals or articles,”

and thus would extend the term “other measures as … may be necessary” far beyond

any rational reading. See 42 U.S.C. § 264(a).

      Expressio unius, or the negative-implication canon, supports the same result.

This canon has greater force the more specific a statutory enumeration. Scalia &

Garner at 108. Here, the enumeration in 42 U.S.C. § 264(a) is so specific to the types

of ways to stop the “spread of communicable diseases” that the more general phrase

(“and other measures, as in his judgment may be necessary”) cannot go much beyond

the scope of the narrow specifics that precede it. Nor can the regulation’s reference

to “reasonably necessary” measures extend to CDC’s Order. Evictions, property law,

landlord-tenant law, and law relating to non-impairment of contracts are well beyond

the genus of the enumeration in § 264(a) and, therefore, CDC has no power to issue

the eviction moratorium challenged here.

      Noscitur a sociis, or the associated-words canon, also instructs that words in

a list are associated in a context suggesting that they should have a similar meaning.

Scalia & Garner at 195; Yates v. United States, 574 U.S. 528, 544 (2015) (“‘Tangible

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object’ is the last in a list of terms that begins ‘any record [or] document.’ The term

is therefore appropriately read to refer, not to any tangible object, but specifically to

the subset of tangible objects involving records and documents, i.e., objects used to

record or preserve information.”). So too here. “[A]ny other measures” is

appropriately read to refer, not to any measures such as eviction moratoriums but

only to a subset of measures similar to those enumerated: “inspection, fumigation,

disinfection,” and so forth. See 42 U.S.C. § 264(a). And “reasonably necessary”

measures must be also be the same in kind. See 42 C.F.R. § 70.2.

      Casus omissus, or the omitted-case canon, instructs the courts to be careful

not to supply “judicial legislation.” Ebert v. Poston, 266 U.S. 548, 554 (1925). “To

supply omissions transcends the judicial function.” Iselin v. United States, 270 U.S.

245, 251 (1926). Neither the operative statute nor the regulation say anything about

displacing state property law, and it would be inappropriate for this Court to supply

that which Congress left out of 42 U.S.C. § 264(a). To read these provisions so

broadly would be a breathtaking expansion of what Congress clearly meant to allow.

      Reading either provision to allow for CDC to create a substantive criminal

law for violating a federal eviction moratorium would violate the constitutionally-

required rule of lenity. See Yates v. United States, 135 S.Ct. 1074, 1088 (2015);

United States v. Jeter, 329 F.3d 1229, 1230 (11th Cir. 2003). Lenity is a rule of

statutory construction that “requires courts to construe ambiguous criminal statutes

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narrowly in favor of the accused.” United States v. Wright, 607 F.3d 708, 716 (11th

Cir. 2010) (Pryor, J. concurring).

      Two constitutional principles underlie lenity: due process and the separation

of powers. The rule protects individuals’ rights “by requiring fair warning of what

the law intends to do if a certain line is passed.” Id. at 717 (cleaned up). Lenity also

protects the separation of powers “by reserving to the legislature the task of

determining what conduct to prohibit and what punishment to impose.” Id.; see

United States v. Bass, 404 U.S. 336, 348 (1971). Stated another way, lenity

“promotes separation of powers by reserving to Congress the power to ‘define a

crime, and ordain its punishment.’” Wright, 607 F.3d at 719 (Pryor, J., concurring)

(citation omitted). By construing ambiguous criminal statutes in favor of the

accused, the “judicial branch refrains from expansively interpreting criminal statutes

so as to prohibit more conduct or punish more severely than Congress intended.” Id.

at 717 (citing Ladner v. United States, 358 U.S. 169, 177-78 (1958)).

      To the extent that there is any ambiguity in the phrasing “inspection,

fumigation, disinfection,” etc., the language must be construed against CDC given

the criminal penalties the Order imposes. If the language were read to allow the

eviction moratorium, CDC could consolidate both legislative and executive

functions in a single branch and create new criminal law where none existed before.

CDC is explicit that those who violate the Order face criminal consequences,

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including up to a year in prison and hundreds of thousands of dollars in fines. 85

Fed. Reg. at 55296. But processing evictions under state law is undoubtedly a lawful

exercise of the states’ legislative judgment. And it is certainly not criminal in the

eyes of Congress. Vesting unilateral authority to say otherwise and imprison citizens

for following state law based on the thinnest reed of being “necessary” for disease

control violates lenity. See Wright, 607 F.3d at 719 (Pryor, J., concurring).

      Even if the provisions could be read so broadly as to allow the Order, CDC’s

actions fail the textual limit of being “reasonably necessary.” Section 70.2 requires

CDC to first determine that “measures taken by health authorities of any State … are

insufficient to prevent the spread of any of the communicable diseases from such

State.” But CDC’s findings are woefully inadequate. CDC relies on the outlandish

leap in imagination that because “mass evictions” and “homelessness” might

increase the likelihood of COVID-19 infection then allowing any number of

evictions in any state is insufficient to prevent the spread of the disease. See 85 Fed.

Reg. at 55294-96. Such catastrophizing hardly follows basic logic. Why should a

single eviction following ordinary process necessarily result in “mass evictions,”

much less mass homelessness? And why should courts assume that newly evicted

individuals will not find less expensive (or perhaps fully subsidized) housing? CDC

has not established a factual basis for its assumption that newly evicted individuals

might mingle with others in a way more dangerous to public health than dining in

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restaurants or attending church services. CDC’s Order seems to refute this notion as

it does not apply to “foreclosures on a home mortgage,” even though such evictions

would seem to implicate homelessness to the same degree as residential lessees. Id.

at 55293. CDC apparently sees nothing unreasonable in states allowing in-person

dining, indoor worship, and even in-person bar service but has somehow determined

that using ordinary property laws to allow evictions are “insufficient.”

      CDC also fails to show that the Order is “reasonably necessary” to prevent the

spread of disease. Even if one accepts the premise that mass homelessness could

create an uptick in COVID-19 infections, why is an eviction moratorium “necessary”

to stop it? There is no evidence that allowing normal processes to play out would

cause “mass evictions,” much less catastrophic homelessness. And there is even less

evidence that suspending all evictions nationwide is “necessary” to stop this

imagined wave of mass homelessness. There are simply too many leaps in logic and

evidence to support such an overwhelming show of federal authority. CDC has made

little effort to show the necessity of its eviction ban.

      In short, CDC’s Order cannot be justified by its statutory and regulatory

source. Plaintiffs are likely to succeed on their claim that it is an invalid agency

action.




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             2. The CDC Order Is Arbitrary and Capricious

      A court must set aside “arbitrary and capricious” agency action. 5 U.S.C.

§ 706(2)(A). This requires a “searching and careful” review to “consider whether

the decision was based on a consideration of the relevant factors and whether there

has been a clear error of judgment.” Fund for Animals, Inc. v. Rice, 85 F.3d 535, 541

(11th Cir. 1996) (citation omitted). An agency’s action is arbitrary and capricious “if

the agency has relied on factors which Congress had not intended it to consider,

entirely failed to consider an important aspect of the problem, offered an explanation

for its decision that runs counter to the evidence before the agency, or is so

implausible that it could not be ascribed to a difference in view or the product of

agency expertise.” Motor Vehicle Mfrs. Ass’n v. State Farm Mut. Auto. Ins. Co., 463

U.S. 29, 43 (1983). Further, when an agency fails to adequately explain its authority

for a certain action, its actions are arbitrary and capricious. Dep’t of Homeland Sec.

v. Regents of the Univ. of Cal., 140 S. Ct. 1891, 1911-12 (2020). “To put a finer

point on it, the APA requires agencies to reasonably explain to reviewing courts the

bases for the actions they take and the conclusions they reach.” Bhd. of Locomotive

Engineers & Trainmen v. Fed. R.R. Admin., --- F.3d ---, 2020 WL 5079389, at *26

(D.C. Cir. Aug. 28, 2020).

      In determining whether the agency acted arbitrarily and capriciously, a court

asks if the agency “examine[d] the relevant data and articulate[d] a satisfactory

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explanation for its action.” Black Warrior Riverkeeper, Inc. v. U.S. Army Corps of

Engineers, 781 F.3d 1271, 1288 (11th Cir. 2015) (quoting Motor Vehicle Mfrs.

Ass’n, 463 U.S. at 43). While a court may “uphold a decision of less than ideal clarity

if the agency’s path may reasonably be discerned ... [it] may not supply a reasoned

basis for the agency’s action that the agency itself has not given.” Id. at 1288

(citations omitted). A court must also find “substantial evidence” for the agency

action. Adefemi v. Ashcroft, 386 F.3d 1022, 1027 (11th Cir. 2004) (en banc).

Accordingly, the agency decision must be “supported by reasonable, substantial, and

probative evidence on the record considered as a whole.” Perez-Zenteno v. U.S. Att’y

Gen., 913 F.3d 1301, 1306 (11th Cir. 2019) (citation omitted). Reasoned

decisionmaking requires the agency to “examine the relevant data” and precludes

the agency from offering “an explanation ... that runs counter to the evidence before

the agency.” Motor Vehicle Mfrs. Ass’n, 463 U.S. at 43

      The CDC Order is arbitrary and capricious because it is not supported by a

rational determination drawn from substantial evidence. As a threshold, CDC has

not met its baseline obligation of showing that local jurisdictions are taking

“insufficient” measures to prevent the spread of COVID-19. Recall that 42 C.F.R.

§ 70.2 purports to grant authority to CDC when the agency “determines that the

measures taken by health authorities of any State … are insufficient to prevent the

spread of any of the communicable diseases[.]” But CDC hardly bothers to suggest

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that states have undertaken “insufficient” measures by simply allowing eviction

processes, irrespective of other mitigation strategies. CDC just asserts that because

a nationwide halt to evictions could help spread the disease, jurisdictions “that do

not meet or exceed these minimum protections are insufficient to prevent the

interstate spread of COVID-19.” 85 Fed. Reg. at 55296. That is a fallacy. Even if an

eviction moratorium could prevent infections, that hardly means a jurisdiction

allowing evictions has had an “insufficient” response to the disease.

      CDC’s inadequate explanation breaks down even more when considering

what it omits. Nowhere does CDC even mention any of the efforts taken by any

jurisdiction to combat COVID-19. Nowhere does it explain why allowing eviction

proceedings, more than any other purported lacuna in prevention strategies,

represents the line that states may not cross. CDC has cited no evidence that any

infection has arisen because of an eviction proceeding. 2

      Furthermore, CDC’s secondary conclusion, that an eviction moratorium is

“necessary” to stop the spread of COVID-19, is unsupported by substantial evidence.

In fact, CDC is careful never to actually say that the moratorium is necessary—the

best it says is that “[i]n the context of a pandemic, eviction moratoria—like


2
  Instead, CDC asserts that COVID-19 infection rates are concerning in homeless
populations. 85 Fed. Reg. at 55295. This hardly proves that eviction proceedings
must be stopped, and that state mitigation strategies are inadequate if they also allow
for evictions.
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quarantine, isolation, and social distancing—can be an effective public health

measure utilized to prevent the spread of communicable disease.” 85 Fed. Reg. at

55294. But even this tepid statement has no real evidentiary support. As discussed,

CDC relies on hyperbole—saying that “mass evictions” and “homelessness” might

increase the likelihood of COVID-19, and thus that that the only appropriate course

of action is to halt evictions nationwide. See 85 Fed. Reg. at 55294-96. CDC does

not explain sufficiently why this would be so, which by itself warrants rejection of

the rule as being inadequately reasoned. See Perez-Zenteno, 913 F.3d at 1306. CDC

does not explain why other remedial measures are inadequate. Attending school in

person and patronizing bars might increase the risk of infection. And North Carolina,

where Mr. Rondeau’s property is situated, allows both. Yet CDC’s Order addresses

only evictions as if it were the sole—or even a significant—factor in the spread of

the disease. Because CDC did not “examine the relevant data” the Order is invalid.

See Dist. Hosp. Partners, L.P., 786 F.3d at 56.

      CDC’s Order runs counter to the evidence before the agency. CDC’s data

suggests that evictions are hardly the most pressing concern for virus containment.

CDC says the obvious—“The virus that causes COVID–19 spreads very easily and

sustainably between people who are in close contact with one another (within about

6 feet), mainly through respiratory droplets produced when an infected person

coughs, sneezes, or talks.” 85 Fed. Reg. at 55293. And it says “quarantine, isolation,

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and social distancing” are sound strategies for reducing transmission. Id. at 55294.

But that evidentiary thread could only be sufficient to support restrictions that

actually address “people who are in close contact with one another.” CDC has simply

not shown that an eviction leads to homelessness and, in turn, makes close contact

more likely. But, as discussed, many daily activities, like shopping, dining, school,

worship, etc., clearly do implicate physical closeness. The evidence simply fails to

support CDC’s Order, and it is thus arbitrary and capricious.

             3. The CDC Order Violates Plaintiffs’ Right to Access the Courts

      “The Constitution promises individuals the right to seek legal redress for

wrongs reasonably based in law and fact.” Harer v. Casey, 962 F.3d 299, 306 (7th

Cir. 2020); see also Christopher v. Harbury, 536 U.S. 403, 415 (2002) (“However

unsettled the basis of the constitutional right of access to courts, our cases rest on the

recognition that the right is ancillary to the underlying claim, without which a

plaintiff cannot have suffered injury by being shut out of court.”).

      As the Supreme Court recognized more than 100 years ago:

      The right to sue and defend in the courts is the alternative of force. In
      an organized society it is the right conservative of all other rights, and
      lies at the foundation of orderly government. It is one of the highest and
      most essential privileges of citizenship, and must be allowed by each
      state to the citizens of all other states to the precise extent that it is
      allowed to its own citizens. Equality of treatment in this respect is not
      left to depend upon comity between the states, but is granted and
      protected by the Federal Constitution.


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Chambers v. Balt. & Ohio R.R., 207 U.S. 142, 148 (1907).

       The right is grounded in Article IV’s Privileges and Immunities Clause, the

First Amendment Petition Clause, the Fifth and Fourteenth Amendment Due Process

Clauses and the Fourteenth Amendment’s Equal Protection Clause. Christopher,

536 U.S. at 415 n.12. Regardless of the specific source, citizens have a fundamental

right of “access to the courts.” Hudson v. Palmer, 468 U.S. 517, 523 (1984); accord

Christopher, 536 US. at 414.

       Typically, claims of denial of access to the courts involve “systemic official

action [that] frustrates a plaintiff or plaintiff class in preparing and filing suits at the

present time.” Christopher, 536 U.S. at 413. Such a claim “is ancillary to the

underlying claim, without which a plaintiff cannot have suffered injury by being shut

out of court.” Id. at 415. When a government official erects barriers that constitute a

“complete foreclosure of relief” for a valid underlying action, the government has

denied a plaintiff’s right to access the courts. Harer, 962 F.3d at 311-12. After all,

“[o]f what avail is it to the individual to arm him with a panoply of constitutional

rights if, when he seeks to vindicate them, the courtroom door can be hermetically

sealed against him by a functionary who, by refusal or neglect, impedes the filing of

his papers?” McCray v. State of Md., 456 F.2d 1, 6 (4th Cir. 1972).

       Perhaps the most famous case involving the right to access is also the most

applicable here. In Boddie v. Connecticut, 401 U.S. 371, 372, 374, 380 (1971), the

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Supreme Court invalidated a state law requiring prepayment of filing fees for divorce

proceedings because it foreclosed the “sole means … for obtaining a divorce” for

indigent litigants. “[G]iven the basic position of the marriage relationship in this

society’s hierarchy of values and the concomitant state monopolization of the means

for legally dissolving [the marriage] relationship” “due process does prohibit a State

from denying, solely because of inability to pay, access to its courts to individuals

who seek judicial dissolution of their marriages.” Id. at 374; see also Christopher,

536 U.S. at 413 (citing Boddie as an access-to-courts case).

      The Boddie decision ensures that classes of litigants are not locked out of the

courthouse. A law requiring a litigant to post a bond to access a trial in a court of

record was invalid, because it was “the only effective means of resolving the dispute

at hand.” Lecates v. Justice of Peace Court No. 4 of State of Del., 637 F.2d 898, 908

(3d Cir. 1980) (citation omitted). So too was a public school barred from requiring

a tenured teacher to pay for the costs of a disciplinary proceeding, as there was no

way for a teacher to “exercise” his rights “other than in a manner penalizing those

seeking to assert it.” Rankin v. Indep. Sch. Dist. No. I-3, Noble Cty., Okl., 876 F.2d

838, 841 (10th Cir. 1989). Courts have recognized that the constitutional guarantee

does not rely “solely on the fundamental nature of the marriage relationship” but

instead turns on whether “(1) resort to the courts is the sole path of relief, and (2)

governmental control over the process for defining rights and obligations is

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exclusive.” Lecates, 637 F.2d at 908-09. Indeed, even a limited property interest in

continuing employment as a teacher was of equal weight as the interest in obtaining

a divorce in Boddie. Rankin, 876 F.2d at 841.

      The CDC Order has unlawfully stripped Plaintiffs of their constitutional right

to access the courts. Mr. Brown, Mr. Rondeau, Mr. Krausz and Ms. Jones have

undisputed rights to evict their tenants under state law but have been totally barred

by the Order from exercising those rights. Mr. Brown has a valid lease agreement

and has provided habitable premises to his tenant. (Brown Decl. at ¶¶ 5-7.) Yet the

tenant has refused to pay him rent, now owing him almost ten times the monthly

rent—a total of $8092. (Brown Decl. at ¶ 6.) Ms. Jones’ tenant has also fallen behind

and owes four months of back rent. (Jones Decl. at ¶¶ 3-4.) And Mr. Rondeau and

Mr. Krausz have actually obtained eviction orders from their respective state courts

because of their tenants’ nonpayment of rent. (Rondeau Decl. at ¶ 9; Krausz Decl. at

¶ 10.) If not for CDC’s Order, Plaintiffs would be fully entitled to have their tenants

ejected from their properties so that they could either use them or seek rent from

solvent tenants. Plaintiffs have therefore met the initial requirement of showing the

merit of their underlying claims. See Christopher, 536 U.S. at 413.

      The Order constitutes a “complete foreclosure of relief” because it denies

Plaintiffs the only lawful means of regaining possession of their property. See Harer,

962 F.3d at 311-12. Mr. Brown ordinarily would be entitled to terminate the rental

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agreement and retake possession through eviction proceedings for his tenant’s

nonpayment. Va. Code §§ 55.1-1245(f), 55.1-1251. But court proceedings are a

Virginia landlord’s sole means of reacquiring possession of his residential property.

A sheriff must enforce a writ of eviction. See Va. Code § 8.01-470 (writs of eviction

generally). A residential landlord is forbidden from taking possession of his own

property. Va. Code § 55.1-1252. In fact, “[i]f a landlord unlawfully removes or

excludes a tenant from the premises … the tenant may obtain an order from a general

district court to recover possession, require the landlord to resume any such

interrupted essential service, or terminate the rental agreement and, in any case,

recover the actual damages sustained by him and reasonable attorney fees.” Va.

Code. § 55.1-1243(a) (emphasis added). Thus, “self help” evictions are unlawful in

the Commonwealth and can themselves be prosecuted as an unlawful eviction. See

Evans v. Offutt, 6 Va. Cir. 528, 1978 WL 208147, at *5 (Cir. Ct. Arl. Cty. 1978).

      For Mr. Rondeau, Mr. Krausz and Ms. Jones the rules are largely the same. In

North Carolina, when a landlord proves a tenant has breached his lease agreement a

magistrate “shall give judgment that the defendant be removed from, and the

plaintiff be put in possession of, the demised premises[.]” N.C. Gen. Stat. § 42-30.

Before executing a writ of possession, a sheriff must provide the tenant with at least

five days’ notice. N.C. Gen. Stat. § 42-36.2(a). “It is the public policy of the State of

North Carolina, in order to maintain the public peace, that a residential tenant shall

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be evicted, dispossessed or otherwise constructively or actually removed from his

dwelling unit only in accordance with the procedure” set out in the law. N.C. Gen.

Stat. § 42-25.6. Since 1981, North Carolina has “prohibited” “all self-help evictions

in residential tenancies.” Stanley v. Moore, 454 S.E.2d 225, 228 (N.C. 1995).

      In South Carolina, a landlord must also utilize a court eviction process and

obtain a writ of ejectment from judge. See S.C. Code § 27-40-710. The writ must be

executed by a state official, and a landlord may not attempt to evict a tenant through

self-help. S.C. Code § 27-40-760. A landlord is also liable to a tenant for the greater

of three months’ rent or twice actual damages for an unlawful ouster if he attempts

to evict a tenant outside the court process. S.C. Code § 27-40-660.

      Georgia also requires residential landlords to use court eviction proceedings,

and only permits eviction by a sheriff’s execution of a writ of possession. See Ga.

Code § 44-7-55(d). Without being issued such a writ, a landlord may not retake

possession of her residential property. See id. A landlord who resorts to self-help

evictions faces criminal punishment. See Ga. Code § 44-7-14.1.

      This process is the same in essentially the same form across the country.

“[T]he growing modern trend holds that self-help is never available to dispose of a

tenant.” Shannon Dunn McCarthy, Squatting: Lifting the Heavy Burden to Evict

Unwanted Company, 9 U. Mass. L. Rev. 156, 178 (2014). “Most states have

eliminated the ability of homeowners to use self-help in the residential housing

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context.” Id. Eviction proceedings are the sole means for nearly all of NAA’s 85,485

member landlords to retake possession of their property. (See Pinnegar Decl. at ¶ 2.)

      The CDC Order has thus deprived Plaintiffs of their only path for recovery of

their property. Because the “governmental control over the process for defining

rights and obligations” for evictions “is exclusive,” see Lecates, 637 F.2d at 908-09,

and the Order has closed the “only effective means of resolving the dispute at hand,”

see Boddie, 401 U.S. at 376, Plaintiffs’ rights to access the courts have been violated.

             C. Plaintiffs Will Suffer Irreparable Harm Absent a Preliminary
Injunction

      To satisfy the irreparable harm requirement, Plaintiffs need only demonstrate

that absent a preliminary injunction, they are “likely to suffer irreparable harm

before a decision on the merits can be rendered.” Winter v. NRDC, 555 U.S. 7, 22

(2008) (citation omitted). When a plaintiff is an organization representing affected

members, courts aggregate the harm affecting an organization’s members. See, e.g.,

All. for the Wild Rockies v. Cottrell, 632 F.3d 1127, 1135 (9th Cir. 2011).

      “An injury is ‘irreparable’ only if it cannot be undone through monetary

remedies.” Cunningham v. Adams, 808 F.2d 815, 821 (11th Cir. 1987). “When an

alleged constitutional right is involved, most courts hold that no further showing of

irreparable injury is necessary.” Kikumura v. Hurley, 242 F.3d 950, 963 (10th Cir.




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2001) (citation omitted). 3 This is because the constitutional injuries cannot be made

whole. See Kikumura, 242 F.3d at 963.

       Monetary harms are irreparable when there is no adequate remedy available.

MacGinnitie v. Hobbs Group, LLC, 420 F.3d 1234, 1242 (11th Cir. 2005). Often,

“[t]hese injuries are in the form of lost opportunities, which are difficult, if not

impossible, to quantify.” Id.; see also Ferrero v. Assoc. Materials, Inc., 923 F.2d

1441, 1449 (11th Cir.1991) (“loss of customers and goodwill is an ‘irreparable’

injury”). Harm is also irreparable when “damages may be unobtainable from the

defendant because he may become insolvent before a final judgment can be entered

and collected.” Hughes Network Sys., Inc. v. InterDigital Commc’ns Corp., 17 F.3d

691, 694 (4th Cir. 1994) (quoting Roland Mach. Co. v. Dresser Indus., Inc., 749 F.2d

380, 386 (7th Cir. 1984), and collecting cases).

      Plaintiffs have suffered and will continue to suffer from irreparable harm in




3
  See also Mich. State A. Philip Randolph Inst. v. Johnson, 833 F.3d 656, 669 (6th
Cir. 2016) (“When constitutional rights are threatened or impaired, irreparable injury
is presumed.”); Jolly v. Coughlin, 76 F.3d 468, 482 (2d Cir. 1996) (“The district
court properly relied on the presumption of irreparable injury that flows from a
violation of constitutional rights.”); Davis v. D.C., 158 F.3d 1342, 1346 (D.C. Cir.
1998) (“A prospective violation of a constitutional right constitutes irreparable
injury.”); Northeastern Fla. Chapter of the Assoc. of Gen. Contractors v. City of
Jacksonville, 896 F.2d 1283, 1285 (11th Cir. 1990) (citing cases and saying, “The
rationale behind these decisions was that chilled free speech and invasions of
privacy, because of their intangible nature, could not be compensated by monetary
damages; in other words, plaintiffs could not be made whole”).
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two forms: (1) violation of their constitutional rights; and (2) noncompensable loss

of the value of their property. As discussed, the CDC Order is unconstitutional, and

thus Plaintiffs need not show any harm beyond that fundamental violation of their

rights. See Assoc. of Gen. Contractors, 896 F.2d at 1285.

      Plaintiffs cannot recover any of the economic damages they continue to incur

because tenants covered by the CDC Order, by definition, are insolvent. Indeed, the

Order expressly applies only to insolvent tenants, who are “unable to pay the full

rent.” 85 Fed. Reg. at 55293. For Mr. Brown, Mr. Rondeau Mr. Krausz, and Ms.

Jones the economic harms are immediate. To date, Mr. Brown’s tenant owes him

more than $8000 in unpaid rent. (Brown Decl. at ¶ 6.) That says nothing of the costs

of maintaining the of the property or the lost revenue Mr. Brown could generate were

he able to place the property on the market. (Brown Decl. at ¶ 14.) Mr. Rondeau’s

tenant owes more than $2100 in rent and fees, yet Mr. Rondeau carries a mortgage

on the property that is almost equal to his monthly mortgage payment. (Rondeau

Decl. at ¶¶ 4, 7.) If he is unable to collect any rents until the Order’s 2021 expiration,

Mr. Rondeau faces the real possibility of losing his property in foreclosure.

(Rondeau Decl. at ¶ 14.) Mr. Krausz and Ms. Jones are owed more than $2265 and

$1800, respectively, in unpaid rent, and they too must continue to incur expenses in

providing the tenant with a habitable home. (Krausz Decl. at ¶ 14; Sonya Jones Dec.

¶ 10.) Their tenants have also demonstrated that they do not have the money to

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satisfy their obligations, which is why eviction is such an essential remedy. Eviction

is the only remedy that could allow Mr. Brown, Mr. Rondeau, Mr. Krausz or Ms.

Jones to place their properties on the market and seek rent from a solvent lessee, and

it is the only one that would relieve them of their unilateral obligations to maintain

the property for a tenant in breach.

      NAA’s members suffer these same harms on a nationwide scale. They can

expect only a third of tenants to make on-time payments, with even fewer tenants in

Class C properties making any payments by the 15th of the next month. See Popov,

et al., supra. While 10% of tenants nationwide will likely not pay any rent, those

numbers will likely be higher for low-income tenants. See id.; LeaseLock, supra.

Even a 10% default rate would be catastrophic for NAA’s members, as those

landlords would have no recourse through eviction. These numbers will likely rise

every month, as more and more tenants fell behind, forcing NAA’s 85,485 to cover

millions in costs for defaulting tenants, with no hope of any recovery from either the

tenants or any of the defendants. (See Pinnegar Decl. at ¶¶ 1, 4-5.)

      A preliminary injunction is therefore necessary to secure Plaintiffs’

opportunity to recover the value of their properties as to both the “insolvent” tenants

and the “loss of valuable business opportunities” that the Order has denied them. See

MacGinnitie, 420 F.3d at 1242; Hughes Network Sys., Inc., 17 F.3d at 694.



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      D. The Balance of Equities Weighs Heavily in Favor of Plaintiffs

      A preliminary injunction is proper when “the balance of equities tips in [its]

favor, and that an injunction is in the public interest.” Winter, 555 U.S. at 20. “These

factors merge when the Government is the opposing party.” Nken, 556 U.S. at 435.

      “[T]here is a strong public interest in requiring that the plaintiffs’

constitutional rights no longer be violated[.]” Laube v. Haley, 234 F.Supp. 2d 1227,

1252 (M.D. Ala. 2002); see also Melendres v. Arpaio, 695 F.3d 990, 1002 (9th Cir.

2012) (“[I]t is always in the public interest to prevent the violation of a party’s

constitutional rights.”); Republican Party of Minn. v. White, 416 F.3d 738, 753 (8th

Cir. 2005) (“It can hardly be argued that seeking to uphold a constitutional protection

... is not per se a compelling state interest.”); League of Women Voters of Fla. v.

Browning, 863 F. Supp. 2d 1155, 1167 (N.D. Fla. 2012) (“The vindication of

constitutional rights ... serve[s] the public interest almost by definition.”).

      The CDC Order is unconstitutional and thus the balance of equities weighs

heavily in favor of the preliminary injunction. Whatever the need for a government

response to the COVID-19 pandemic, the Order advance one specific policy solution

in violation of the constitutional interests of property holders across the nation.

CDC’s Order is a ham-fisted effort to address the pandemic in a strained and illogical




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way. Moreover, it is a gross violation of CDC’s constitutional limitations. The

equities therefore require that the CDC Order be preliminarily enjoined.4

III. CONCLUSION

      For the reasons set out above, the Court should enter a preliminary injunction

against the CDC Order.




4
 For largely the same reasons no bond should be required here. Federal Rule of Civil
Procedure 65(c) says, “No restraining order or preliminary injunction shall issue
except upon the giving of security by the applicant, in such sum as the court deems
proper, for the payment of such costs and damages as may be incurred or suffered
by any party who is found to have been wrongfully enjoined or restrained.” But
Plaintiffs are entitled to evict their tenants, and the TRO would do nothing more than
restore the judicial process wrongly denied to them. The CDC can hardly incur
damages by following the federal constitution and a process created by state laws.
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September 18, 2020

                                  Respectfully,

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                       CERTIFICATE OF COMPLIANCE

      I hereby certify that the foregoing court filing has been prepared in 14-point

Times New Roman font and complies with LR 5.1, NDGa and LR 7.1(D), NDGa.

                                               /s/ Caleb Kruckenberg
                                               Caleb Kruckenberg
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                          CERTIFICATE OF SERVICE

      I hereby certify that on September 18, 2020, I electronically filed the

foregoing with the Clerk of Court using the CM/ECF system which sent

notification of such filing to all counsel of record.


                                               /s/ Caleb Kruckenberg
                                               Caleb Kruckenberg
                                               Counsel for Plaintiffs
